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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                    8:12CR88
       vs.                                   )
                                             )                     ORDER
AMANDA G. WILLIAMS,                          )
                                             )
                     Defendant.              )



       This matter is before the court on defendant's UNOPPOSED MOTION TO EXTEND
TIME TO FILE PRETRIAL MOTIONS [34]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 30-day extension.
Pretrial Motions shall be filed by June 22, 2012.

       IT IS ORDERED:

     1.   Defendant's UNOPPOSED MOTION TO EXTEND TIME TO FILE PRETRIAL
MOTIONS [34] is granted. Pretrial motions shall be filed on or before June 22, 2012.

       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between May 21, and June 22,
2012, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 23rd day of May, 2012.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
